Case 4:42-e¥-68692-LAK-TUH Deeennentesaa4 piberoe/1oHa9 PageciloPhs

SOUTHERN DISTRICT OF NEW YORK

MEMO ENDORSED UNITED STATES DISTRICT COURT

 

     

 

   
  
 

CHEVRON CORPORATION,
Plaintiff,
11 Civ. 0691 (LAK)
¥. ——— : :
‘USDC SDNY
STEVEN DONZIGER et ai., DOCUMENT
ELECTRONICABLY- FILED |]
Defendants. DOC #: ;

 

 

'| DATE FILED:_7/4/20\4

 

 

EMERGENCY MOTION TO STAY FINES AND SANCTIONS
PENDING APPEAL OR IN THE ALTERNATIVE FOR AN
ADMINISTRATIVE STAY

Undersigned moves the Court to stay (a) the draconian coercive fines imposed on me, a
human rights advocate and sole practitioner, for making good-faith efforts to protect the core
constitutional rights of me and my Ecuadorian clients, Indigenous peoples and farmer communities
who are victims of extensive oil pollution in the Amazon rainforest; and (b) its recent order that I
tum over my passport pending resolution of the pending motion to vacate (Dkt. 2221). Task for a
stay pending resolution of my appeal of the Court’s May 23, 2019 contempt opinion (“Contempt
Opinion”) and potentially resolution of any forthcoming appeal of the Court’s one-page
“Paragraph 5” contempt finding (Dkt. 2219) (“Paragraph 5 Contempt Order”) or two-page
Passport Order (Dkt. 2232), depending on the outcome of the motion to vacate and whether I need
to separately notice appeals of those orders. I further request an immediate administrative stay of
all fines and coercive orders to allow for resolution of the instant motion and if necessary an
emergency stay motion to the Second Circuit. This matter implicates my fundamental

constitutional rights and the fundamental rights of thousands of Indigenous peoples in Ecuador,

 
Case 1:11-cv-00691-LAK-RWL Document 2254 Filed 07/02/19 Page 2 of 4

Memorandum Endorsement Chevron Corp., v. Donziger, 11-cv-0691 (LAK)
I

This matter is before the Court in consequence of Steven Donziger’s virtually absolute
refusal to comply with court orders requiring him to produce documents for the purpose of permitting
his judgment creditor to locate assets that may be used to satisfy its unstayed money judgment against
Donziger and to determine whether and to what extent Donziger has violated an injunction already
affirmed by the Court of Appeals and seek contempt remedies as may be appropriate.

Donziger has been held in civil contempt for his failure to comply with two provisions
of a court order (the “Forensic Inspection Protocol” or “Protoco!”’), amorig other misconduct. The
Protocol provisions of which he is in contempt (paragraphs 4 and 5) require him to identify his
electronic devices-and storage media and to turn then over to a court appointed expert fora brief period
to permit the devices to be imaged. DI 2172, 9] 4-5. The imaging of these media would protect the
integrity of the electronically stored information (“ESP”) they contain, detect any spoliation ofevidence
anc permit a technologically assisted search of their contents for “documents” responsive to adocument
subpoena with which Donziger has not complied despite court orders that he do so.

The Court, following a brief grace period, imposed increasing coercive fines for each
day during which Donziger failed to comply with the identification and temporary turnover provisions
of the Protocol. DI 2209, DI 2219. The fines are to be expunged if and when Donziger purges himself
ofcontempt. Nevertheless, when the coercive fines did not result in Donziger’s compliance, the Court
suspended the further accumulation of the fines. D[ 2252. But ina further and measured attempt to
coerce compliance, 1 directed Donziger to surrender his passport(s) to the Clerk of the Court, the
passport to be returned to Donziger upon full compliance with the Court’s orders. Donziger initially
agreed to turn over the passport(s) if the Court’so required but then reneged and refused to comply with
the Court’s order.

Donziger now secks a stay pending appeal of the coercive fines imposed for his refusal
ta comply with the relevant provisions ofthe Protocol until he complies fully with their terms. While
he has been held in civil contempt for other misconduct, those determinations are not implicated by the
present motion because. they did not result in any coercive relief or, in one instance, was purged.
Moreover, the further accumulation of coercive fines was suspended after he filed this motion.

Uh

In determining whether to issue a stay pending appeal, the Court considers ““( 1) whether
the stay applicant has made a strong showing that he is likely to succeed on the merits; (2) whether the
applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will substantially
injure the other parties interested in the proceeding; and (4) where the public interest lies.°”! “The
necessary ‘level’ or ‘degree’ of possibility of success will vary according to the court’s assessment of

 

ture World Trade Cir. Disaster Site Litie, 503 F.3d 167, 170:(2d Cir. 2007) (quoting Hilton v. Braunskill,
481 US, 770, 776.1987),
Case 1:11-cv-00691-LAK-RWL Document 2254 Filed 07/02/19 Page 3 of 4

the other [stay] factors.”

Donziger is not entitled to any stay pending appeal under this standard, substantially
for the reasons set forth in Chevron’s memorandum, DI 2237. In addition to the reasons advanced by
Chevron, the Court emphasizes an additional point with respect to each of the passport order and the
order holding Donziger in contempt of paragraph 5 of the Forensic Inspection Protocol (the Protocol”),

1. Donziger has been stalling perfectly legitimate post-judgment discovery since
Chevron served its information subpoenas many, many months ago. The Court first directed him to
comply with parts of the subpoenas. When Donziger made no serious effort to comply with his court-
directed obligations, the Court adopted in principle the proposal that Donziger’s electronically stored
information be located, imaged to protect its integrity and to return Donziger’s devices to him as
quickly as possible, and searched. Despite Donziger’s refusal to play any meaningful role in
formulating a process for doing so, the Court laboriously developed the process reflected in the
Forensic Inspection Protocol, which is highly protective of Donziger. See generally D12171, DI 2172.
When Donziger refused to comply with the Protocol, Chevron moved successfully to hold Donziger
in civil contempt. As there was no meritorious defense to that motion, it was granted. The Court first
resorted to coercive fines to induce compliance. But that measure failed. So the Court elected to
require Donziger to surrender his passport(s) pending his compliance with paragraphs 4 and 5 of the
Protocol. After initially stating on the record that he would surrender the passport(s), he refused.

In this posture, there is no real merit to the stay motion. The further accumulation of
coereive fines has been suspended, essentially on the ground that it has been ineffective. D12252. So
all that remains of the stay motion is the order fo turn over the passport.

District courts have broad discretion to formulate remedies to coerce compliance with
their orders. As the Second Circuit has said, “[t]o the extent that a contempt sanction is coercive, the
court has ‘broad discretion to design a remedy that will bring about compliance.’” Paramedics
Electromedicina Comercial, Ltda vy. GE Med. Sys. Info. Techs., Inc., 369 F.3d 645, 657 (2d Cir. 2004)
(quoting Perfect Fit Indus., Inc. v. Acme Quilting Co., 673 F.2d 53, 57 (2d Cir. 1982)). Given that
coercive fines had failed, it is difficult to umagine any other remedy short of incarceration that might
be effective. In my judgment, there is no meaningful possibility that the passport surrender order would
be overturned on appeal.

2. Donziget’s position is even weaker as to the contempt holding with respect to
the provision ofthe Protocol requiring hii to tum over his devices and media to the Neutral Forensic
Expert, paragraph 5. D1 2219. He has not appealed either from that order (which in any case probably
was not appealable) or from the order holding him in civil contempt for failing to comply with
paragraph 5. The time within which to have done so has expired with respect to both orders. Quite

 

Mohamed v. Reno, 309 F.3d 95,101 (2d Cir. 2002) (quoting Wash, Metro. Area Transit
Comm'n v. Holiday Tours, Inc., 559 F.2d 841, 843 (D.C. Cir. 1977) (internal quotation marks
omitted)).

 

 
Case 1:11-cv-00691-LAK-RWL Document 2254 Filed 07/02/19 Page 4 of 4

apart from that, there was no merit to his substantive argument.

zo ok

All of that said, it is relevant to focus on the two different parts of the Forensic
Inspection Protocol, The first part involves Donziger adequately identifying and accounting for his
devices and media, Donziger turning them over to the Neutral Forensic Expert (“NFE”), and the NFE
then imaging the devices and media in order to preserve the integrity of the data and permit return of
the original items to Donziger. The second involves the analytical and search process that is designed
to result in the production to. Chevron of the documents that the Court ordered produced a very long
time ago and that Donziger has not produced. Any further delay in the first part would be dangerous
to the integrity of the data and, moreover, entirely unjustified. A modest further delay of the second
part would be inconvenient but tolerably so if any appeal were pursued and resolved promptly.

In all the circumstances, Donziger’s motion for a stay pending appeal of certain relief
granted in the Court’s contempt ruling (DI 2234) is granted to the extent that those portions of the
Protocol as require or permit disclosure to Chevron of information obtained from Donziger —
specifically, paragraphs 7(b), 7(d)-(f), and 8 through 10 —are stayed pending appeal. In order to avoid
unnecessary additional delay, this stay is conditioned explicitly on the followisig conditions:

i. Donziger shall filehis appellate briefand appendix in support of his appeal from
the decision of May 23, 2019 no later than July 31, 2019 and his repty brief no later than 14 days after
the filing of Chevron’s brief.

2. Donziger shall not oppose any motion for the Second Circuit to expedite that
or any related appeal.

Doriziger’s motion is denied in al! other respects. Without limiting the foregoing, he remains obligated
to comply fully with paragraphs 4 and 5 of the Protocol and to surrender his passport(s) to the Clerk
as previously directed. Lf

 
 

SO ORDERED. f / (

i

f . : f Ji
Dated: July 2, 2019 ! i a Mb
LOA, /\, . : lL, »,

Lewis EAI
t Judge

United States Distrit

 

 

 
